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  PETER C. ANDERSON
                                                                       FOR COURT USE ONLY
  UNITED STATES TRUSTEE
  Kenneth M. Misken
  Assistant United States Trustee
  Katherine C. Bunker, Bar No. 240593
  Trial Attorney
  UNITED STATES TRUSTEE
  915 Wilshire Boulevard, Suite 1850
  Los Angeles, California 90017
  Telephone: (213) 894-3326; Fax: (213) 894-0276
  Email: kate.bunker@usdoj.gov

           UNITED STATES BANKRUPTCY COURT
            CENTRAL DISTRICT OF CALIFORNIA
            SAN FERNANDO VALLEY DIVISION
  In re:
  Gregory G. Smith, M.D., A Professional Corporation,

                                                Debtor.
  NOTICE OF MOTION AND MOTION TO DISMISS OR                     CHAPTER 11 CASE NUMBER
  CONVERT CASE UNDER 11 U.S.C. § 1112(b);
  DECLARATION OF MARIA D. MARQUEZ                                1:21-bk-11688-VK

   TO THE DEBTOR, DEBTOR’S ATTORNEY, CREDITORS, AND OTHER INTERESTED PARTIES:

    NOTICE IS HEREBY GIVEN that on the following date and time in the indicated courtroom, the United States
Trustee will move, and does hereby move the court for an order either converting the above entitled chapter 11
case to chapter 7 or dismissing the case and for such other relief as may be appropriate on the grounds set forth
below.

                         Hearing Date: December 9, 2021 Time: 1:00 p.m. Ctrm: 301
                                          U. S. Bankruptcy Court
                                           21041 Burbank Blvd.
                                      Woodland Hills, California 91367


     Local Bankruptcy Rule 9013-1(f) requires that any opposition or response to this motion be stated in writing,
filed with the Clerk of the Court and served upon the United States Trustee at the address set forth in the upper
left-hand corner of this document, upon the chapter 11 trustee and his or her attorney if a trustee has been
appointed, and upon the debtor and the debtor’s attorney no less than fourteen (14) days prior to the above
hearing date. The court may treat failure to file a written response to this motion within the required time period as
consent to the motion.

    Notwithstanding any language in the Notice advising or suggesting that the hearing will be held physically in one
of the Court's courtrooms, please be advised that due to the COVID-19 pandemic, the Court will conduct the
hearing remotely, using ZoomGov audio and video technology. Individuals will not be permitted access to the
courtroom. Information on how to participate in the hearing remotely using ZoomGov is provided below.
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                                                     Debtor.


 1. Hearing participants and members of the public may participate in and/or observe the hearing using
    ZoomGov, free of charge.
 2. Individuals may connect by ZoomGov audio and video using a personal computer (equipped with camera,
    microphone and speaker), or a handheld mobile device with an integrated camera, microphone and speaker
    (such as an iPhone, iPad, Android phone or Android tablet). The connection can be initiated by entering the
    "Meeting URL" into a web browser on any of these devices, provided the device is connected to the Internet.
    Individuals connecting in this manner will be prompted for the Meeting ID and Password shown below.
 3. Individuals also may connect to the hearing by telephone only, using the telephone number provided below.
    Individuals connecting in this manner also will be prompted for the Meeting ID and Password.
 4. Neither a Zoom nor a ZoomGov account is necessary to participate in or observe the hearing, and no pre-
    registration is required.
 5. The audio portion of the hearing will be recorded electronically by the Court and constitute its official record.
 6. All persons are strictly prohibited from making any other recording of court proceedings, whether by video,
    audio, "screenshot," or otherwise. Violation of this prohibition may result in the imposition of monetary and
    non-monetary sanctions.
 7. The following is the unique ZoomGov connection information for the above-referenced hearing:
     Join By Computer
     Web link: https://cacb.zoomgov.com/j/1615149232
     Meeting ID: 161 514 9232
     Password: 298001
     Join by Telephone
     Telephone conference lines: 1-669-254-5252 OR 1-646-828-7666
     Meeting ID: 161 514 9232
     Password: 298001

 8. More information on using ZoomGov to participate in this hearing is available on the Court's website at the
    following web address: https://www.cacb.uscourts.gov/news/zoom-video-hearing-guide-participants.




                                      (This motion is continued on the next page.)
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                                                     Debtor.



                                                  FILING INFORMATION

 A voluntary petition under chapter 11 was filed on October 14, 2021.

 J.P. Fritz was appointed as the sub chapter V trustee on October 16, 2021.

                                         DECLARATION OF MARIA D. MARQUEZ

1. I am employed as a Bankruptcy Analyst at the Office of the United States Trustee for the Central District of
   California with the responsibility of monitoring the administration of chapter 11 cases.

2. I have reviewed the files of the Office of the United States Trustee in connection with this bankruptcy case. I
   have personal knowledge of the facts set forth herein and if called as a witness could and would
   competently testify thereto.

3. This is the Debtor’s second bankruptcy. On October 15, 2020, the Debtor filed a chapter 11 bankruptcy
   under Subchapter V in the Eastern District of California (Sacramento), assigned Case No. 20-24783. On
   August 2, 2021, almost a year into the case, the Debtor had not filed its plan, was behind on monthly
   operating reports, and had not obtained new bankruptcy counsel to represent it. Based on the foregoing,
   the case was ordered dismissed on August 4, 2021. On September 3, 2021, Creditors Gregory G. Smith,
   M.D., and Carmelita Yambalia filed a motion to vacate dismissal of that case, which the court denied on
   October 4, 2021. To date, that bankruptcy remains open. Ten days later, on October 14, 2021, the current
   Subchapter V case was filed in the Central District of California.

4. On October 27, 2021, the Court entered an order extending the time by which the Debtor is required to file
   its schedules and statements to November 11, 2021. To date all required case opening documents,
   pursuant to Federal Rule of Bankruptcy Procedure 1007(c) and Local Bankruptcy Rule 1007-1(b), have not
   been filed. As of the date of the hearing, however, all required documents will need to have been filed in
   order to be in compliance with the October 27 order.

5. The Debtor has failed to comply with the requirements of the United States Trustee Guidelines and/or Local
   Bankruptcy Rules by failing to provide the following:

      A. Real Property Questionnaire(s) (USTLA-5) for leased property;
      B. Sufficient evidence of closing of all pre-petition bank accounts including: closing bank statements and
         all bank account information required by the Declaration Regarding Compliance;
      C. Pre-petition bank statements for all pre-petition accounts covering January 2021 to October 2021;
      D. Sufficient evidence of opening and maintenance of debtor-in-possession bank accounts including: a
         voided debtor-in-possession check;
      E. Proof of appropriate insurance coverage including declaration pages and evidence that the Office of the
         U.S. Trustee has been added to receive notice regarding each insurance policy;
      F. There is no evidence that the Debtor has filed federal tax returns for years ending 2019 and 2020; and
      G. Copy of commercial lease agreement(s).
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                                                     Debtor.



6. As of the date of the hearing, the monthly operating report for October 2021 will due. If the hearing date is
   continued, additional monthly operating reports will be due.

I declare under penalty of perjury that the foregoing is true and correct, and that this declaration was executed
on the following date at Los Angeles, California.

Date of execution: November 2, 2021
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                                                     Debtor.


 The United States Trustee submits the following points and authorities in support of this motion:

 1. "[O]n request of a party in interest, and after notice and a hearing, and after notice and a hearing, the court
    shall convert a case under this chapter to a case under chapter 7 or dismiss a case under this chapter,
    whichever is in the best interests of creditors and the estate, for cause unless the court determines that the
    appointment under section 1104(a) of a trustee or an examiner is in the best interests of creditors and the
    estate.” 11 U.S.C. § 1112(b)(1).

 2. “For the purposes of this subsection, the term “cause” includes- (A) substantial or continuing loss to or
    diminution of the estate and the absence of a reasonable likelihood of rehabilitation; (B) gross
    mismanagement of the estate; (C) failure to maintain appropriate insurance that poses a risk to the estate
    or to the public; (D) unauthorized use of cash collateral substantially harmful to 1 or more creditors; (E)
    failure to comply with an order of the court; (F) unexcused failure to satisfy timely any filing or reporting
    requirement established by this title or by any rule applicable to a case under this chapter; (G) failure to
    attend the meeting of creditors convened under section 341(a) or an examination ordered under rule 2004
    of the Federal Rules of Bankruptcy Procedure without good cause shown by the debtor; (H) failure timely to
    provide information or attend meetings reasonably requested by the United States Trustee (or the
    bankruptcy administrator, if any); (I) failure timely to pay taxes owed after the date of the order for relief or
    to file tax returns due after the date of the order for relief; (J) failure to file a disclosure statement, or to file
    or confirm a plan, within the time fixed by this title or by order of the court; (K) failure to pay any fees or
    charges required under chapter 123 of title 28; (L) revocation of an order of confirmation under section
    1144 of this title; (M) inability to effectuate substantial consummation of a confirmed plan; (N) material
    default by the debtor with respect to a confirmed plan; (O) termination of a confirmed plan by reason of the
    occurrence of a condition specified in the plan; and (P) failure of the debtor to pay any domestic support
    obligation that first becomes payable after the date of the filing of the petition.” 11 U.S.C. § 1112(b)(4).

 3. Local Bankruptcy Rule 2015-2(b) provides that timely compliance with the reasonable requirements of the
    United States Trustee is mandatory.

 4. A debtor’s failure to comply with the reporting requirements of the United States Trustee and the Local
    Bankruptcy Rules is cause to dismiss this chapter 11 case or convert it to one under chapter 7, pursuant to
    11 U.S.C. § 1112(b)(1) and (b)(4)(F) and (H). See also In re 3868-70 White Plains Road Inc., 28 B.R. 515
    (Bankr. S.D.N.Y. 1983); In re Bianco, 5 B.R. 466 (Bank. D. Mass.1980); In re Pappas, 17 B.R. 662 (Bankr.
    D. Mass. 1982).

 5. The court may convert or dismiss a case where no reasonable possibility of effective reorganization exists,
    the debtor is unable to effectuate a plan and/or for unreasonable delay which prejudices the rights of
    creditors. See, e.g., In re Johnston, 149 B.R. 158, 161 (9th Cir. BAP 1992).

 6. The court may prohibit the debtor from filing another bankruptcy petition for a period of 180 days for cause.
    11 U.S.C. §§ 105, 109(g) & 349(a).

 7. In the alternative, the court may appoint a chapter 11 trustee pursuant to 11 U.S.C. §§ 1112(b)(1) and
    1104(a). Specifically, 11 U.S.C. § 1112(b)(1) provides that a trustee shall be appointed if grounds exist to
    convert or dismiss the case under § 1112(b), but the court determines that appointing a trustee is in the
    best interests of creditors and the estate.

 8. In this case, the Debtor has failed to comply with the U.S. Trustee’s requirements and the Local Bankruptcy
    Rules, which constitutes cause to dismiss a chapter 11 or convert it to one under chapter 7 pursuant to 11
    U.S.C. § 1112(b)(4)(F) and (H). See also LBR 2015-2(b) (“[t]imely compliance is mandatory”); White Plains
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        Road Inc., 28 B.R. 515; Pappas, 17 B.R. 662. The Debtor also has not provided sufficient insurance
        providing additional cause for dismissal or conversion under 11 U.S.C. § 1112(b)(4)(C).

        Based on the foregoing, depending on what would serve the best interests of the creditors and the estate,
        this Court may order conversion, dismissal, or the appointment of a chapter 11 trustee.

  Based on the above facts and law, and also based upon such oral and/or documentary evidence as
may be presented at the time of the hearing, the United States Trustee respectfully requests as follows.

   A. That the Court grant the United States Trustee's motion herein and either dismiss this case or convert it to
      one under chapter 7 of the United States Bankruptcy Code for cause pursuant to 11 U.S.C.
      § 1112(b)(4)(C), (F), and (H).

   B. If the case is converted to one under chapter 7, that the Court enter an order requiring Debtor's counsel to
      file a fee application under Bankruptcy Code § 330 within thirty (30) days.

   C. That the Court order such other and further relief as may be appropriate in the circumstances.


   Date of execution: November 2, 2021                               UNITED STATES TRUSTEE

                                                                     By: /s/ Katherine Bunker
                                                                         Katherine Bunker
                                                                         Attorney for the U.S. Trustee
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                                                       Debtor.




                                 PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
915 Wilshire Blvd., Suite 1850, Los Angeles, California 90017

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION TO DISMISS OR
CONVERT CASE UNDER 11 U.S.C. § 1112(b); DECLARATION OF MARIA D. MARQUEZ, will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 11/2/2021, I checked
the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                      Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 11/2/2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows.

                                                      Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 11/2/2021, I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by
facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 11/2/2021             Alfred Cooper III                                             /s/ Alfred Cooper III
 Date                     Printed Name                                               Signature
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                                                     Debtor.


                                         SERVICE LIST FOR PROOF OF SERVICE

SERVED BY ELECTRONIC FILING                                            SERVED BY U.S. MAIL

      Katherine Bunker kate.bunker@usdoj.gov                          U.S. Bankruptcy Court
      John-Patrick McGinnis Fritz                                     San Fernando Valley Division
       (TR) jpftrustee@lnbyg.com, jpf@trustesolutions.net              21041 Burbank Boulevard
      Joel Rapaport jrapaportlaw@gmail.com                            Woodland Hills, California 91367
      United States Trustee
                                                                       Gregory G. Smith, M.D., A Professional
       (SV) ustpregion16.wh.ecf@usdoj.gov                              Corporation
                                                                       6511 Van Nuys Blvd.
                                                                       Van Nuys, CA 91401
